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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


   IN RE:                                       § CASE NUMBER: 13-34674
   CHARLES RAY MOSELY                           §
   DEBTOR(S)                                    §
                                                §
                                                § CHAPTER 7

                                REQUEST FOR NOTICES

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW, the undersigned attorney who requests that all notices in the above-

encaptioned matter be copied to Shapiro Schwartz, LLP as follows:

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                                    Houston, TX 77092



Respectfully submitted,
SHAPIRO SCHWARTZ, LLP


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SS Number: 13-012542
